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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY (CAMDEN)_______
     In Re:                                                 Case No. 08-14631
            SHAPES/ARCH HOLDINGS, L.L.C., et al             Chapter 11

                                   Debtors.
     __________________________________________

                                  CERTIFICATE OF SERVICE

           I, Erica B. Mallinger of Harris Beach PLLC, hereby certify that on the 26th day of
     September, 2008, this office caused service of the proposed ORDER ALLOWING
     ADMINISTRATIVE CLAIM AND GENERAL UNSECURED CLAIM OF CALDWELL
     MANUFACTURIING CO. by regular mail, via the United States Postal Service in a postage
     prepaid envelope, in compliance with FRBP Rules 9014(b) and 7004(b), to the following
     CM/ECF non-participants:


           Cozen O'Connor
           Mark E. Felger, Esq.
           Jerrold N. Poslusny, Jr., Esq.
           Liberty View, Suite 300
           457 Haddonfield Road
           Cherry Hill, NJ 08002

           United States Trustee’s Office
           One Newark Center, Suite 2100
           Newark, NJ 07102

           Honorable Gloria M. Burns
           United States Bankruptcy Court
           400 Cooper Street, Courtroom 4C
           Camden, NJ 08101

           Cole, Schotz, Meisel, Forman & Leonard
           25 Main Street
           P.O. Box 800
           Hackensack, NH 07602-0800


     Executed on September 26, 2008.                        /s/Erica B. Mallinger
                                                     Erica B. Mallinger
